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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

PHILLIPS PETROLEUM COMPANY
VENEZUELA LIMITED and
CONOCOPHILLIPS PETROZUATA B.V.,
Plaintiffs,

v. Misc. No. 19-342-LPS
PETROLEOS DE VENEZUELA, 8.A.,
CORPOGUANIPA, S.A., and PDVSA
PETROLEO, S.A.,

Defendants.

 

MEMORANDUM ORDER

Plaintiffs Phillips Petroleum Company Venezuela Limited and ConocoPhillips Petrozuata
B.V. (together, “ConocoPhillips”) filed a Motion for an Order Authorizing the Issuance of a Writ
of Fieri Facias. (D.I.2) Defendants Petréleos de Venezuela, S.A., Corpoguanipa, S.A., and
PDVSA Petréleo, S.A. (collectively, the “PDVSA Parties”) oppose the motion. (See generally
D1. 3, 4, 11-15, 22, 23) The Court heard oral argument on September 17, 2020. (See D.L 24)
(“Tr.”) Since then, the parties have submitted a status report (D.I. 25) and a settlement
agreement from August 2018. (See D.L. 28, 29) Having carefully considered all of these
materials, IT IS HEREBY ORDERED that this action will proceed in this Court but the Court
will need additional input from the parties before resolving the motion.

1. The Court is not persuaded that resolution of a contract dispute in a New York
court is a condition precedent to this Court’s consideration of ConocoPhillips’s motion.
Accordingly, this action will proceed in this Court.

ConocoPhillips brought this action under the provision in the parties’ settlement

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agreement that permits “Pytra-Contractual Judgment Enforcement.” (See, ¢.g., D.1.3 at il &
n.1i (citing DI. 29 ff 9.4 & 16.3); Tr. at 5-6; DL. 25 at 2-3) The settlement agreement’s
forum-selection clause does not apply to such enforcement. (D.1. 294 15.0) Under the
agreement, ConocoPhillips’s ability to pursue Extra-Contractual Judgment Enforcement is
triggered by an “Event of Payment Default,” which consists of a “Payment Default” followed by
delivery of a “Default Notice,” which is in turn followed by the PDVSA Parties’ failure to
remedy the Payment Default within 30 days of the Default Notice. (Jd 99.4) Payment Default
includes “the failure of the PDVSA Parties to make the cash payments” required by certain
provisions in the agreement. (Id. { 9.1.3) (citing § 3.4)

There is no dispute that the PDVSA Parties failed to make a payment required by the
agreement. (See, e.g., DL. 11 at 1-2; D.I. 25 at 3-4) There is also no dispute that
ConocoPhillips delivered a Default Notice. (See D.I. 3 at 5 (asserting that Default Notice was
sent on October 14, 2019); see also generally D1. 11) It is further undisputed that the PDVSA
Parties did not remedy the Payment Default within 30 days following delivery of the Default
Notice. (See D.I.3 at 5) The provision of the settlement agreement that allows for Extra-
Contractual Judgment Enforcement does not permit excuses to performance, including the
PDVSA Parties’ impossibility defense. (D.1. 29 ff 9.4 & 9.5) ConocoPhillips has not sought
any remedy in this Court related to any breach of contract by the PDVSA Parties. Instead, this
miscellaneous action concerns enforcement of a judgment. Thus, there is no need for a New
York court to separately decide any issues relating to breach or impossibility before this
enforcement action may proceed in this Court. |

2. Before the Court will decide ConocoPhillips’ motion, it requires additional input
from the parties. Specifically, the parties shall meet and confer and, no later than January 26,

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2021, submit a proposed order setting out a schedule and page limits for briefs to address at least
the following:

a. the impact, if any, of the Court’s January 14, 2021 decision in the
Crystallex Asset Proceeding, Misc. No. 17-151-LPS;

b. whether current U.S. sanctions prohibit ConocoPhillips from seeking, or
prohibit this Court from ordering, the relief sought by ConocoPhillips (which shall include
consideration of the license documents from the Office of Foreign Assets Control (“OFAC”) that
ConocoPhillips has now provided to the PDVSA Parties (see D.I. 25 at 1)); and

c. to the extent there is a dispute over the PDVSA Parties’ request for the
production of communications with OFAC, on which ConocoPhillips relied during oral
argument (see, e.g., Tr. at 14, 17-18), the parties’ proposal shall provide for the forthcoming

briefing to address that dispute as well.

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January 15, 2021 HONORABLE LEONARD P. STARK
Wilmington, Delaware UNITED STATES DISTRICT COURT

 
